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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                         CHAPTER 11
    IN RE:                                                               CASE NO.: 21-32351 (DRJ)
    LIMETREE BAY SERVICES, LLC, et al., 1                                (Jointly Administered)
              Debtors.                                                   Related to Docket No. 837

    ORDER (I) AUTHORIZING AND APPROVING THE SETTLEMENT AGREEMENT
     BY AND AMONG THE DEBTORS, OFFICIAL COMMITTEE OF UNSECURED
              CREDITORS, AND BP PRODUCTS NORTH AMERICA INC.
                     AND (II) GRANTING RELATED RELIEF

          Upon motion (“Motion”) 2 of the debtors and debtors in possession herein (collectively, the

“Debtors”) for entry of an order (this “Order”), pursuant to Sections 105(a) and 365(a) of the

Bankruptcy Code and Bankruptcy Rule 9019, approving that certain settlement agreement by and

among the Debtors, as debtors and debtors in possession, on behalf of themselves and their

bankruptcy estates, the Official Committee of Unsecured Creditors, and BP Products North

America Inc. (the “Settlement Agreement”); and this Court having jurisdiction to consider this

matter pursuant to 28 U.S.C. §§ 157 and 1334; and venue of these Chapter 11 Cases and the Motion

being proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having authority to enter a final order

on the Motion consistent with Article III of the United States Constitution; and the Debtors having

provided adequate notice under the circumstances and no other or further notice being needed; and

a reasonable opportunity to object or be heard regarding the relief granted herein having been


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      The Debtors, along with the last four digits of each Debtor’s federal tax identification number, as applicable, are: Limetree
      Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776); Limetree Bay Refining Holdings II, LLC (1815);
      Limetree Bay Refining, LLC (8671); Limetree Bay Refining Operating, LLC (9067); Limetree Bay Refining Marketing, LLC
      (9222). The Debtors’ mailing address is Limetree Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.
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      Capitalized terms used but not defined herein shall have the meanings ascribed in the Motion or the Settlement
      Agreement, as applicable.
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afforded pursuant to Bankruptcy Rule 6004(a); and upon the record of the hearing, and all

proceedings had before this Court; and this Court having found that the relief granted hereby is in

the best interests of the Debtors, their estates, their creditors, and all other parties in interest; and

the legal and factual bases set forth in the Motion and during the hearing on the Motion establishing

just cause for the relief granted hereby; and all objections, if any, to the Motion having been

withdrawn, resolved, or overruled on the merits; after due deliberation and sufficient cause

appearing therefor,

         IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

         1.        The Motion is GRANTED as set forth herein.

         2.        The Settlement Agreement, a copy of which is attached as Exhibit A hereto, is

approved in its entirety pursuant to Sections 105(a) and 363(b) of the Bankruptcy Code and

Bankruptcy Rule 9019 and its terms are incorporated fully herein as an order of this Court.

         3.        Upon the occurrence of the Effective Date of the Settlement Agreement, (i) BPPNA

shall pay to the Debtors the sum of $5,035,764 in full satisfaction of the Settlement Amount, per

the instructions furnished by the Debtors, (ii) BakerHostetler LLP shall be authorized and

instructed to release the Escrow Funds ($4,464,236) to the Debtors and, upon transfer of the

Escrow Funds, shall be deemed to have satisfied and shall be released from any duties or

obligations with respect to the Escrow Funds, including, without limitation, any obligations under

the Stipulation or order thereon with respect to the Escrow Funds, (iii) the CMS Dispute shall be

fully and finally settled, resolved and released pursuant to the terms of the Settlement Agreement,

(iv) the releases provided in the Settlement Agreement shall be deemed effective, (v) the BP Proof

of Claim shall be deemed withdrawn with prejudice, and without any further action required of

BP, and (vi) to the extent that any BP Agreements not terminated pursuant to the terms of the



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Settlement Agreement are still in existence, such BP Agreements shall be deemed rejected by the

Debtors pursuant to Section 365(a) of the Bankruptcy Code and, whether terminated by BP

pursuant to the terms of the Settlement Agreement or rejected by the Debtors, such BP Agreements

shall be fully and automatically terminated, cancelled and of no further force and effect, and the

parties thereto shall have no further obligations, duties, commitments or responsibilities in

connection therewith.

         4.        Notwithstanding anything to the contrary in the Settlement Agreement, (a) the

Debtors and the Terminal Entities 3 expressly maintain and preserve any and all claims, defenses,

and rights against each other, including, without limitation, all claims, defenses, and rights under

the Shared Services Systems Agreement dated as of November 30, 2018 by and between LBT and

Limetree Bay Refining, LLC, whether now existing or hereafter arising, and nothing in the

Settlement Agreement or this Order shall have any effect on or release such claims, defenses, and

rights; and (b) the Terminal Entities and BP expressly maintain and preserve any and all claims,

defenses, and rights against each other, whether now existing or hereafter arising, including,

without limitation, all claims, defenses, and rights against each other arising in, arising in

connection with, or relating in any way to any of the Class Actions. For the avoidance of doubt,

(x) nothing in the Settlement Agreement or this Order is intended or shall be construed to maintain

or preserve any claims, defenses or rights of the Estate Releasors that could be brought or asserted

against any BP Releasees by the Terminal Entities, on behalf of any Estate Releasors, all of which

such claims, defenses and rights of the Estate Releasors are released and discharged pursuant to

Section 9(a) of the Settlement Agreement; and (y) the Terminal Entities shall not be considered

affiliates of the Debtors or an Estate Releasor for purposes of the Settlement Agreement and this


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  The Terminal Entities are: Limetree Bay Terminals, LLC (“LBT”), Limetree Bay Terminals Holdings, LLC,
Limetree Bay Terminals Holdings II, LLC, Limetree Bay Cayman, Ltd., and Limetree Bay Financing, LLC.

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Order, including, without limitation, with respect to any releases set forth in the Settlement

Agreement or this Order.

         5.        The Debtors are authorized and empowered to take any and all actions necessary to

carry out and effectuate the terms, conditions and provisions of the Settlement Agreement and this

Order.

         6.        The terms of the Settlement Agreement may not be modified by a chapter 11 plan

and shall be binding upon any duly-appointed chapter 7 or 11 trustee and any plan administrator

appointed in or any trust formed under the terms of any confirmed chapter 11 plan or plans.

         7.        The fourteen (14) day stay of effectiveness imposed by Bankruptcy Rule 6004(h)

is hereby waived and the relief granted herein shall take effect immediately upon entry of this

Order.

         8.        This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation and interpretation of this Order.




Dated: ___________________
       Houston, Texas


                                                   David R. Jones
                                                   United States Bankruptcy Judge




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                            Exhibit A

                       Settlement Agreement
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                                                                          EXECUTION VERSION


                       SETTLEMENT AND RELEASE AGREEMENT

       This Settlement and Release Agreement (this “Agreement”) is made and entered into as
of November 30, 2021 (the “Execution Date”) by and among (i) Limetree Bay Services, LLC,
Limetree Bay Refining Holdings, LLC, Limetree Bay Refining Holdings II, LLC, Limetree Bay
Refining, LLC, Limetree Bay Refining Marketing, LLC, and Limetree Bay Refining Operating,
LLC (collectively, the “Debtors”), as debtors and debtors in possession in the Chapter 11 Cases
(defined below), on behalf of themselves and their bankruptcy estates, (ii) the Committee (as
defined below), and (iii) BP Products North America Inc. (“BPPNA”). The Debtors, Committee
and BPPNA may be referred to hereinafter collectively as the “Parties” and each individually as
a “Party”.


                                             Recitals

        WHEREAS, on July 12, 2021 (the “Petition Date”), the Debtors filed voluntary petitions
for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101, et seq. (as
amended, the “Bankruptcy Code”), in the United States Bankruptcy Court for the Southern
District of Texas, Houston Division (the “Court”), thereby commencing chapter 11 cases that are
being jointly administered for procedural purposes only sub nom. In re Limetree Bay Services,
LLC et al., Case No. 21-32351 (DRJ) (collectively, the “Chapter 11 Cases”);

        WHEREAS, on July 26, 2021, the Office of the United States Trustee appointed the
Official Committee of Unsecured Creditors (the “Committee”) in these Chapter 11 Cases;

        WHEREAS, prior to the Petition Date, the Debtors owned and operated a refinery
(including related facilities) and a commodity marketing and trading business located at Limetree
Bay, St. Croix, U.S. Virgin Islands;

         WHEREAS, the Debtors and BPPNA are parties to various pre-petition agreements,
including, without limitation, (i) a feedstock supply agreement pursuant to which BPPNA supplied
crude oil and other refining feedstock to Limetree Bay Refining Marketing, LLC (“LBRM”), and
(ii) a product offtake agreement pursuant to which BPPNA lifted refined product from LBRM;

        WHEREAS, the Debtors and BPPNA and/or affiliates of BPPNA (BPPNA, together with
BP Corporation North America Inc. and BPPNA’s other affiliates, collectively, “BP”) are parties
to various other pre-petition agreements, including, without limitation, an Amended and Restated
Tolling Agreement dated as of February 22, 2021 (the “Tolling Agreement”) (all agreements
between BP and the Debtors are listed on Schedule 1 hereto and are referred to herein, collectively,
each as amended, restated, amended and restated, modified and/or supplemented from time to time,
as the “BP Agreements”);

        WHEREAS, on the terms and conditions set forth in the Tolling Agreement, BPPNA
agreed to pay LBRM an amount equal to 50% of the absolute value of Commissioning Margin
Share (as defined in the Tolling Agreement; hereinafter,“ CMS”), if negative, which amounts were
to be invoiced monthly by LBRM and, to the extent not disputed, paid by BPPNA;




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        WHEREAS, in the event of a dispute over a CMS invoice, BPPNA would deliver a dispute
notice (a “Dispute Notice”) to LBRM and timely pay the undisputed portion of such invoice;

       WHEREAS, the Debtors assert that they are owed funds from BPPNA on account of
accrued and unpaid CMS pursuant to the Tolling Agreement, and BPPNA disputes that it owes
any such amounts, as set forth in Dispute Notices delivered to the Debtors (the “CMS Dispute”);

       WHEREAS, the Toll Start Date did not occur by the FCT Stop Date of August 15, 2021
(each as defined in the Tolling Agreement) and the Tolling Agreement was not terminated by
BPPNA prior to such time, as a result of which, pursuant to Sections 3.2(b) and (c) thereof,
(i) BPPNA’s share of any CMS was conclusively deemed to be zero ($0) dollars from and after
the FCT Stop Date, and (ii) BPPNA has the right to terminate the Tolling Agreement at any time;

        WHEREAS, pursuant to that certain Order Granting Stipulation between the Debtors, J.
Aron & Company, LLC, BP Products North America, Inc., and the Committee Pursuant to
Bankruptcy Rule 9019 entered by the Court on November 2, 2021 (Docket No. 712) (the
“Stipulation”), Debtors’ counsel, Baker & Hostetler, LLP, is holding in escrow, for the benefit of
BPPNA, the Escrow Funds (as defined therein) in the amount of $4,464,236, which represents the
sum of (i) Trade Contract Amounts (as defined therein) of $3,964,236 owed to BPPNA on account
of certain trade contracts identified on Exhibit A thereto, and (ii) the Sale Reserve (as defined
therein) of $500,000 as a reserve for potential claims of BP against J. Aron & Company LLC (“J.
Aron”) and/or the Debtors relating to feedstocks and products purchased by BP pursuant to that
certain Liquidation Put Agreement by and among BPPNA and J. Aron, dated as of March 3, 2020;

        WHEREAS, the Debtors acknowledged and agreed, and the Stipulation provides, that the
Trade Contract Amounts shall be applied as a credit against unpaid, undisputed CMS amounts
previously invoiced by the Debtors to BPPNA, provided that the Debtors and BPPNA reserved all
rights with respect to CMS other than as explicitly set forth in the Stipulation;

       WHEREAS, on November 12, 2021, BPPNA filed a proof of claim (the “BP Proof of
Claim”) in the Chapter 11 Cases, Claim No. 143, asserting a claim of not less than $34,376,981.98
owed to BPPNA by the Debtors under the BP Agreements, plus certain contingent and
unliquidated amounts;

         WHEREAS, there may be potential claims belonging to the Debtors’ estates, whether
arising under the BP Agreements or otherwise (collectively, the “Potential Claims”), that could
be asserted against BP, and BP denies that any Potential Claims have any legal merit and BP asserts
that it would vigorously defend any Potential Claims if litigated;

       WHEREAS, the Parties and their respective advisors have negotiated extensively, at arm’s
length and in good faith, in an effort to settle and compromise the various disputed issues and
Potential Claims addressed by this Agreement, this Agreement is the product of those discussions,
and the Committee has approved and fully supports this Agreement; and

       WHEREAS, the Parties enter into this Agreement to, inter alia, (i) avoid the delay,
uncertainty, inconvenience and expense of litigation relating to the CMS Dispute and any other
Potential Claims and/or causes of action that could be asserted against BP by or on behalf of the
Debtors’ estates; (ii) facilitate the prompt payment by BPPNA of the Settlement Amount (defined


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below) to the Debtors; (iii) resolve the Escrow Account, with such funds to be turned over to the
Debtors’ estates on the terms and conditions set forth herein; and (iv) resolve and/or otherwise
address certain other matters among the Debtors and BP related to the BP Agreements.


                                           Agreement

       NOW, THEREFORE, in consideration of the mutual promises, covenants,
considerations, waivers, and releases set forth herein, the receipt and sufficiency of which are
hereby acknowledged by each Party, each Party hereby agrees as follows:

       1.     Recitals. The recitals set forth above are fully incorporated herein by reference and
made an express part of this Agreement. The Parties stipulate and agree that each of the recitals
and terms and conditions of this Agreement are an integral part of this Agreement.

       2.      Court Approval. This Agreement is subject in all respects to the Court’s entry of
an order (the “9019 Order”) approving this Agreement and authorizing the Debtors to perform
hereunder. The 9019 Order shall be in substantially the form of the proposed order attached as
Exhibit A hereto, and any modifications shall be acceptable in form and substance to BPPNA.

        3.      Settlement Consideration. Upon the occurrence of the Effective Date (as defined
below), in consideration of the various agreements contained in this Agreement including, without
limitation, the releases in Section 9 hereof, (a) BPPNA shall pay to the Debtors the total sum of
$5,035,764 (the “Settlement Amount”), which shall consist of gross settlement consideration of
$9,000,000, less Trade Credit Amounts of $3,964,236, which Trade Credit Amounts shall be
satisfied through BP’s release of the Escrow Funds to the Debtors pursuant to Section 5, infra;
(b) BPPNA shall remit the Settlement Amount to LBRM per payment instructions to be provided
by the Debtors (such instructions to be provided not less than three (3) business days prior to the
Effective Date); and (c) the BP Proof of Claim shall be deemed withdrawn with prejudice, and
without any further action required of BP.

        4.     CMS Dispute/Tolling Agreement. Upon the occurrence of the Effective Date, the
CMS Dispute shall be fully and finally settled, resolved and released by this Agreement, BP and
the Debtors shall owe no further CMS obligations to one another, and the Tolling Agreement shall
be deemed terminated by BP as of such date pursuant to Section 3.2(b) thereof, without further
action required.

         5.     Escrow Funds. Upon the occurrence of the Effective Date, in consideration of the
various agreements contained in this Agreement including, without limitation, the releases in
Section 9 hereof, (i) BPPNA hereby releases and waives any and all liens, security interests,
claims, rights and entitlements with respect to the Escrow Funds and any proceeds thereof, and
(ii) by this Agreement, Debtors’ counsel shall be authorized and instructed by the Debtors and
BPPNA to transfer the Escrow Funds in the amount of $4,464,236 to the Debtors, which upon
receipt shall become property of the Debtors’ estate pursuant to Section 541 of the Bankruptcy
Code. Upon transfer of the Escrow Funds, Debtors’ counsel shall be deemed to have satisfied and
be released from any duties or obligations with respect to the Escrow Funds.




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        6.      BP Agreements. The Parties hereby acknowledge and agree that, upon the
occurrence of the Effective Date, to the extent that any BP Agreements not terminated pursuant to
the terms hereof are still in existence, such BP Agreements shall be deemed rejected by the Debtors
as of such date pursuant to Section 365(a) of the Bankruptcy Code without further action required
and all of the BP Agreements, whether terminated by BP pursuant to the terms hereof or rejected
by the Debtors:

                a.     shall be fully and automatically terminated, cancelled and of no further
force and effect, and the parties thereto shall have no further obligations, duties, commitments or
responsibilities in connection therewith; and

               b.     all respective obligations of the parties under the BP Agreements shall be
deemed fully paid, discharged and satisfied, and any and all other liabilities, indebtedness and
other obligations owing by any party to another party under the BP Agreements shall be forever
and irrevocably discharged, released and satisfied in full and terminated.

Notwithstanding anything contained in this Section 6, the termination of the BP Agreements shall
not (i) terminate, alter, or otherwise effect the obligations of the Parties under this Agreement or
(ii) terminate, alter, or otherwise effect any obligations of the applicable parties under the BP
Agreements to maintain confidentiality pursuant to the terms of the BP Agreements.

       7.       Motion. The Debtors shall file a motion (the “Motion”) with the Court requesting
approval of this Agreement pursuant to the Rule 9019 of the Federal Rule of Bankruptcy Procedure
(the “Bankruptcy Rules”) not later than two (2) business days after the Execution Date. The
Debtors shall provide a draft of the Motion to BPPNA for review and comment prior to filing and
the Motion shall be reasonably acceptable in form and substance to BPPNA.

       8.      Cooperation. Following the Execution Date, the Parties shall act in good faith to
support and obtain entry of the 9019 Order and occurrence of the Effective Date. The Parties shall
not take any actions inconsistent with this Agreement, and each Party shall use commercially
reasonable efforts to cooperate with the Debtors’ efforts to obtain entry of the 9019 Order.

       9.      Releases.

                a.     Releases by the Debtors. Upon the occurrence of the Effective Date, for
good and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
each of the Debtors, on behalf of themselves, their estates, and any predecessors, successors and/or
assigns of any of the foregoing, including, without limitation, any chapter 7 or 11 trustee, any
entity or person acting on his or her behalf, or any entity or person such as a liquidating or post-
confirmation trust or plan administrator acting under a chapter 11 plan (collectively, the “Estate
Releasors”), hereby irrevocably releases and forever discharges BP and its current and former
officers, directors, managers, members, shareholders, general partners, limited partners,
employees, advisors, agents, professionals, affiliates, subsidiaries, parents, guarantors and
controlling persons (each in their respective capacities as such), together with the predecessors,
successors and/or assigns of each of the foregoing (collectively, the “BP Releasees”), from any
and all claims, demands, rights, actions, causes of action, suits, obligations, damages, judgments,
contracts, decrees, controversies, liabilities, crossclaims, counterclaims, rights of payment, rights



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of setoff or recoupment, reimbursement, contribution and/or indemnification, costs, expenses or
attorneys’ fees, of whatever kind or nature, whether at law or in equity, fixed or contingent,
liquidated or unliquidated, foreseen or unforeseen, accrued or not accrued, known or unknown,
now or hereafter existing, whether individual, class or derivative in nature, any statutory, common
law, contract, tort or other theory, or intentional or negligent or other wrongdoing, for
compensatory, consequential, punitive or exemplary damages or any damages or relief
whatsoever, including any right to any equitable remedy (whether or not such right to an equitable
remedy gives rise to a right to payment or is reduced to judgment), from the beginning of time to
the Effective Date, including, without limitation, the Potential Claims, the CMS Dispute and/or
the BP Agreements, which any of the Estate Releasors have, had, or can, shall, or may hereafter
have against any BP Releasee by reason of any matter, cause or thing whatsoever based upon,
arising out of, or in any way relating to the Debtors and/or the Chapter 11 Cases, be it a claim or
cause of action at common law or pursuant to federal, state or any other law including Chapter 5
of the Bankruptcy Code (collectively, the “Estate Released Matters”); provided, however, that
the foregoing does not release and shall not be construed to release any of BPPNA’s obligations
under this Agreement. The Estate Releasors acknowledge that they may, after the Execution Date,
discover facts other than or different from those which they know or believe to be true with respect
to the BP Releasees relating to the Estate Released Matters. Notwithstanding any such discovery
of facts, the Estate Releasors waive and fully, finally and forever settle and release any known or
unknown, suspected or unsuspected, contingent or noncontingent claim that accrued prior to the
execution of this Agreement relating to the Estate Released Matters whether or not concealed or
hidden, without regard to the subsequent discovery or existence of such other facts. The Estate
Releasors expressly waive and release any and all provisions, rights, and benefits conferred by
Section 1542 of the California Civil Code, which provides:

            Section 1542. Certain Claims Not Affected by General Release. A general
            release does not extend to claims that the creditor or releasing party does
            not know or suspect to exist in his or her favor at the time of executing the
            release and that, if known by him or her, would have materially affected his
            or her settlement with the debtor or released party;

or by any law of any state or territory of the United States, or principle of common law, which is
similar, comparable, or equivalent to Section 1542 of the California Civil Code.

                b.      Releases by BP. Upon the occurrence of the Effective Date, for good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, BP hereby
irrevocably releases and forever discharges the Debtors, their estates, and their current and former
officers, directors, managers, employees, advisors, agents, and professionals (each in their
respective capacities as such), together with the successors and/or assigns of each of the foregoing
(collectively, the “Estate Releasees”), from any and all claims, demands, rights, actions, causes
of action, suits, obligations, damages, judgments, contracts, decrees, controversies, liabilities,
crossclaims, counterclaims, rights of payment, rights of setoff or recoupment, reimbursement,
contribution and/or indemnification, costs, expenses or attorneys’ fees, of whatever kind or nature,
whether at law or in equity, fixed or contingent, liquidated or unliquidated, foreseen or unforeseen,
accrued or not accrued, known or unknown, now or hereafter existing, whether individual, class
or derivative in nature, any statutory, common law, contract, tort or other theory, or intentional or
negligent or other wrongdoing, for compensatory, consequential, punitive or exemplary damages


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or any damages or relief whatsoever, including any right to any equitable remedy (whether or not
such right to an equitable remedy gives rise to a right to payment or is reduced to judgment), from
the beginning of time to the Effective Date, which BP has, had, or can, shall, or may hereafter have
against any Estate Releasee by reason of any matter, cause or thing whatsoever based upon, arising
out of, or in any way relating to the Debtors and/or the Chapter 11 Cases, be it a claim or cause of
action at common law or pursuant to federal, state or any other law (collectively, the “BP Released
Matters”); provided, however, that the foregoing does not release and shall not be construed to
release any of the Debtors’ or Committee’s obligations under this Agreement. BP acknowledges
that it may, after the Execution Date, discover facts other than or different from those which it
knows or believes to be true with respect to the Estate Releasees relating to the BP Released
Matters. Notwithstanding any such discovery of facts, BP waives and fully, finally and forever
settles and releases any known or unknown, suspected or unsuspected, contingent or noncontingent
claim that accrued prior to the execution of this Agreement relating to the BP Released Matters
whether or not concealed or hidden, without regard to the subsequent discovery or existence of
such other facts. BP expressly waives and releases any and all provisions, rights, and benefits
conferred by Section 1542 of the California Civil Code, which provides:

              Section 1542. Certain Claims Not Affected by General Release. A general
              release does not extend to claims that the creditor or releasing party does
              not know or suspect to exist in his or her favor at the time of executing the
              release and that, if known by him or her, would have materially affected his
              or her settlement with the debtor or released party;

or by any law of any state or territory of the United States, or principle of common law, which is
similar, comparable, or equivalent to Section 1542 of the California Civil Code.

For the avoidance of doubt, notwithstanding anything to the contrary in this Agreement, BP is not
releasing, and nothing in this Agreement is intended or shall be construed to release: (i) Limetree
Bay Energy, LLC, Limetree Bay Terminals, LLC, Limetree Bay Terminals Holdings, LLC,
Limetree Bay Terminals Holdings II, LLC, Limetree Bay Cayman, Ltd., Limetree Bay Cayman II,
Ltd., Limetree Bay Financing, LLC, Limetree Bay Ventures, LLC, the Committee, ArcLight
Capital Partners, LLC, Freepoint Commodities LLC, or EIG Global Energy Partners, LLC, or any
predecessors, successors, non-Debtor subsidiaries or affiliates, agents, insurers or assigns of any
of the foregoing, or (ii) any claims, third-party claims, crossclaims, counterclaims, defenses or
affirmative defenses that BP has asserted or could in the future assert against any non-Debtor
parties arising in, arising in connection with, or relating in any way to any of the Class Actions.1

        10.      Covenant Not to Sue.

               a.     Estate Releasees. Upon the occurrence of the Effective Date, the Debtors,
on behalf of themselves, their estates and the other Estate Releasees, hereby promises, covenants

1
  The term “Class Actions” shall refer herein to the following: Cotton et al. v. Limetree Bay Ventures, LLC et al.,
Case No. 1:21-CV-00261-WAL (U.S.D.C., D.V.I.); Shirley et al. v. Limetree Bay Ventures, LLC, Case No. 1:21-
CV-00259 (U.S.D.C., D.V.I.); Charles et al. v. Limetree Bay Ventures, LLC, et al., Case No. 1:21-CV-00260
(U.S.D.C., D.V.I.); Boynes, et al. v. Limetree Bay Ventures, LLC, et al., Case No. 1:21-CV-00253-WAL (U.S.D.C.,
D.V.I.); and any other action that may be filed against BP relating to alleged emissions from the Debtors’ refinery
located at Limetree Bay, St. Croix, U.S. Virgin Islands.


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and agrees not to commence, initiate, file, institute, assert, aid, prosecute, encourage, support,
induce, participate in or assist, directly or indirectly, any lawsuit, action, claim or other proceeding
of any kind, at any time, against any BP Releasee, in any court or administrative proceeding, in
any venue, based upon, arising out of, or relating in any way to the Estate Released Matters.

               b.      Committee. Upon the occurrence of the Effective Date, the Committee
hereby promises, covenants and agrees not to commence, initiate, file, institute, assert, aid,
prosecute, encourage, support, induce, participate in or assist, directly or indirectly, any lawsuit,
action, claim or other proceeding of any kind, at any time, against any BP Releasee, in any court
or administrative proceeding, in any venue, based upon, arising out of, or relating in any way to
the Estate Released Matters, including, without limitation, any claim or cause or action that could
be brought or asserted by the Committee directly against any BP Releasee (a “Direct Claim”) or
derivatively on behalf of the Debtors’ estates. The Committee represents and warrants that it is not
aware of any potential Direct Claims and agrees that it is hereby estopped and enjoined from
bringing or asserting any Direct Claims.

provided, however, that this Section 10 shall not prohibit, prevent, or otherwise preclude the
Debtors or any of their successors in interest, including, without limitation, any trustee or post-
confirmation trust, from taking any action to enforce this Agreement against BP.

         11.     Remedies. The Parties agree that any failure on their part to take any action
required of them under this Agreement would cause irreparable damage and that any monetary
relief, even if available, would not be an adequate remedy. To the fullest extent permitted by law,
the Parties acknowledge and agree that (i) the Parties shall be entitled to seek specific performance
or other injunctive or equitable relief to prevent breaches of this Agreement and to enforce
specifically the terms and provisions hereof, without proof of damages or otherwise, this being in
addition to any other remedy to which they are entitled under this Agreement or at law or in equity,
and (ii) such right of specific enforcement is an integral part of this Agreement. The Parties agree
not to assert that a remedy of specific enforcement is unenforceable, invalid, contrary to law or
inequitable for any reason, and not to assert that monetary damages would provide an adequate
remedy or that the Parties otherwise have an adequate remedy at law. The Parties acknowledge
and agree that any party seeking an injunction or injunctions to prevent breaches of this Agreement
and to enforce specifically the terms and provisions of this Agreement shall not be required to
provide any bond or other security in connection with any such order or injunction.

       12.     Conditions to Effective Date. This Agreement shall become effective (such date,
the “Effective Date”) upon satisfaction of each of the following conditions:

                a.      this Agreement shall have been duly executed by each of the Parties; and

                b.      the Court’s entry of the 9019 Order; and

                c.      receipt by the Debtors’ estates of the Settlement Amount.

       13.     Termination; Effect. Any Party may terminate this Agreement, in its sole and
absolute discretion, if the Effective Date has not occurred on or before December 31, 2021. If the
Court declines to enter the 9019 Order, or this Agreement is terminated by a Party pursuant to this



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Section 12, this Agreement shall be void ab initio and of no further force of effect, and the Parties
shall be returned to their respective positions as if this Agreement were never in existence.

        14.    Access; Books and Records. The Debtors covenant and agree to provide BP with
reasonable access, at reasonable times, to the Debtors’ books, records and documents and
employees in connection with the Class Actions until the earlier of (a) conclusion of BP’s
involvement with the Class Actions and (b) December 31, 2022. The Debtors further agree that if,
prior to such date, the Debtors’ assets are sold to one or more purchasers or control over such
books and records is transferred to a plan administrator or chapter 7 or 11 trustee, the Debtors shall
negotiate in good faith and use commercially reasonable efforts to ensure that BP shall continue
to have reasonable access, at reasonable times, to the Debtors’ books, records and documents for
the duration of such period; provided, however, that BP acknowledges and agrees that (y) the
Debtors’ inability to provide access to books, records or documents no longer within their
possession, custody or control shall not constitute a breach of this Agreement and, (z) if such
access is afforded to BP, (i) access may be subject to or conditioned upon the payment or
reimbursement of out-of-pocket costs and expenses associated therewith (excluding, for purposes
hereof, any attorneys’ fees incurred by such purchaser or custodian) and, (ii) if access is so
conditioned, BP shall be solely responsible for the payment of any such costs and expenses.

       15.     Due Authorization; Binding Agreement; No Conflict. Each of the Parties hereby
represents and covenants to the other Parties as follows:

              a.      such Party has the power, authority and the legal right to execute, deliver
and perform under this Agreement;

                b.      the person executing this Agreement on such Party’s behalf has the full right
and authority to enter into this Agreement on behalf of such Party and has the full right and
authority to execute this Agreement and to fully bind such Party to the terms and conditions hereof;

                c.      this Agreement has been duly executed and delivered by such Party and
constitutes a legal, valid and binding obligation of such Party, enforceable in accordance with its
terms; and

               d.      such Party’s execution and delivery of this Agreement, and the its
performance of its obligations hereunder, have been duly authorized and do not and will not: (i)
violate any provision of any law, rule, regulation, order, judgment, injunction, decree or
determination applicable to such Party or the organizational documents of such Party, or (ii) result
in a breach of or constitute a default under any agreement or instrument to which such Party may
be bound or affected;

provided, however, that the Parties acknowledge and agree that the Debtors’ foregoing
representations and covenants in this Section 14 are subject to entry of the 9019 Order.

        16.     Notice. Any notice or other written instrument required or permitted to be given
pursuant to this Agreement shall be in writing signed by the Party giving notice and shall be sent
by hand delivery, certified mail, return receipt requested or overnight courier to the other Parties
at the address(es) set forth below:



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       If to the Debtors:

       Limtree Bay Services, LLC, et al.c/o B. Riley Advisory Services
       3500 Maple Avenue, Suite 420
       Dallas, TX 75219
       Attn: Mark Shapiro
       Email: mshapiro@brileyfin.com

              with a copy to (which shall not constitute notice):

       Elizabeth A. Green
       BAKER & HOSTETLER LLP
       200 South Orange Avenue
       Suite 2300
       Orlando, FL 32801
       Telephone:    (407)649-4000
       Facsimile:    (407)841-0168
       Email: egreen@bakerlaw.com

                      -and-

       Jorian L. Rose
       BAKER & HOSTETLER LLP
       45 Rockefeller Plaza
       New York, NY 10111
       Telephone:     (212)589-4200
       Facsimile:     (212)589-4201
       Email: jrose@bakerlaw.com

       If to the Committee:

       Michael D. Warner
       PACHULSKI STANG ZIEHL & JONES LLP
       440 Louisiana Street, Suite 900
       Houston, TX 77002
       Telephone:    (713) 691-9385
       Facsimile:    (713) 691-9407
       Email: mwarner@pszjlaw.com

                      -and-

       Jeffrey N. Pomerantz
       PACHULSKI STANG ZIEHL & JONES LLP
       10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067
       Telephone:    (310) 277-6910
       Facsimile:    (310) 201-0760


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       Email: jpomerantz@pszjlaw.com

       If to BPPNA and/or any of its affiliates:

       Matthew Swartz, Managing Counsel
       30 S. Wacker Drive, Suite 700
       Chicago, IL 60606
       E-mail: Matthew.Swartz@bp.com
       Telephone: (832) 619-4894

               with a copy to (which shall not constitute notice):

       D. Tyler Nurnberg
       ARNOLD & PORTER KAYE SCHOLER LLP
       70 West Madison Suite 4200
       Chicago, IL 60602-4231
       Telephone: (312) 583 2300
       Facsimile: (312) 583 2360
       Email: tyler.nurnberg@arnoldporter.com

                       -and-

       Rosa J. Evergreen
       ARNOLD & PORTER KAYE SCHOLER LLP
       601 Massachusetts Avenue NW
       Washington, DC 20001-3743
       Telephone: (202) 942 5000
       Facsimile: (202) 942 5999
       Email: rosa.evergreen@arnoldporter.com

Notice may be provided to counsel for the Parties by electronic mail. Notices may also be provided
to such other address or addresses subsequently provided in writing by a Party to the other Parties.

        17.    Construction. The Parties participated jointly in the drafting and preparation of
this Agreement. Therefore, in any interpretation or construction of this Agreement, the Agreement
shall not be construed for or against any Party on that basis. No ambiguity shall be construed
against any Party based upon a claim that such Party drafted the language.

        18.    Amendment. This Agreement may not be modified, amended, or otherwise altered
except in writing executed and delivered by each of the Parties.

       19.      Successors and Assigns. This Agreement shall inure to the benefit of and be
binding upon the Parties and their respective successors and assigns, including, without limitation,
any chapter 11 or 7 trustee that may be appointed. None of the provisions in this Agreement are
intended by the Parties, nor shall they be deemed, to confer any benefit on any individual or entity
not a Party to this Agreement or a successor or assignee of a Party to this Agreement.




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       20.    Attorneys’ Fees and Costs. Each of the Parties shall bear its own costs and
expenses in connection with this matter, including, without limitation, legal fees and expenses.

      21.      Time of the Essence. Time is of the essence for purposes of this Agreement. The
Motion shall request that the Proposed Order be effective immediately upon its entry by the Court.
Time periods shall be calculated in accordance with Bankruptcy Rule 9006.

        22.     No Admission. This Agreement is intended to be and is a settlement and
compromise of a dispute between the Parties, and neither this Agreement, nor any acts or omissions
related thereto, shall constitute an admission or disclaimer of the existence of liability of any kind
(other than the liability created by this Agreement). The Parties agree that nothing in this
Agreement shall constitute or be introduced, treated, deemed, or otherwise interpreted or construed
as evidence in any judicial or arbitration proceedings except to enforce or defend the terms hereof.

        23.    Entire Agreement. This Agreement constitutes the entire agreement and
understanding between the Parties with respect to the subject matter hereof and supersedes all prior
or contemporaneous agreements, understandings, representations and statements, oral or written,
between the Parties on the subject matter hereof, which agreements shall be of no further force or
effect. Each Part acknowledges that, in entering into this Agreement, such Party is not relying on
any statements or representations made by the other Parties other than as expressly set forth herein.

        24.     No Assignment. Each of the Parties represents and warrants that such Party is the
owner of the claims that it released in this Agreement, and has not assigned or otherwise
transferred, pledged or hypothecated such claims or any portion thereof to any third party.

       25.     Counterparts. This Agreement may be executed in any number of counterparts,
each of which shall be deemed an original, but all of which together shall constitute one and the
same Agreement, binding on the Parties. The Parties agree that facsimile or electronic copies of
signatures shall be deemed original signatures for all purposes hereof.

        26.     Headings. Headings in this Agreement are for convenience only and do not
constitute a part of this Agreement.

        27.     Governing Law. This Settlement shall be governed by, interpreted, construed, and
enforced in accordance with the laws of the State of New York, without regard for that State’s
conflicts of law or choice of law principles.

        28.     Jurisdiction. This Court (or, upon withdrawal of this Court’s reference, the United
States District Court for the Southern District of Texas) shall retain jurisdiction and venue over
this Agreement and the Parties for the duration of the performance of the terms and provisions of
this Agreement and for the purpose of enabling any of the Parties to apply to the Court at any time
for such further order, direction, and relief as may be necessary or appropriate for the construction
or interpretation of this Agreement or to effectuate or enforce compliance with its terms.

                               [SIGNATURE PAGE FOLLOWS]




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IN WITNESS WHEREOF, each Party has executed this Agreement as of the Execution Date.

                                        Limetree Bay Services, LLC


                                        By:
                                              Name: Mark Shapiro
                                              Title: Chief Restructuring Officer

                                        Limetree Bay Refining Holdings, LLC


                                        By:
                                              Name: Mark Shapiro
                                              Title: Chief Restructuring Officer

                                        Limetree Bay Refining Holdings II, LLC


                                        By:
                                              Name: Mark Shapiro
                                              Title: Chief Restructuring Officer

                                        Limetree Bay Refining, LLC


                                        By:
                                              Name: Mark Shapiro
                                              Title: Chief Restructuring Officer

                                        Limetree Bay Refining Marketing, LLC


                                        By:
                                              Name: Mark Shapiro
                                              Title: Chief Restructuring Officer

                                        Limetree Bay Refining Operating, LLC,


                                        By:
                                              Name: Mark Shapiro
                                              Title: Chief Restructuring Officer




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                                  BP Products North America Inc.


                                  By:
                                        -=-=-----------
                                         Name:
                                        Title:




                                  Official Committee of Unsecured Creditors




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                                      Schedule 1

                                   BP Agreements

1. Amended & Restated Tolling Agreement, dated as of February 22, 2021, by and among
   Limetree Bay Refining, LLC, Limetree Bay Refining Marketing, LLC, and BP Products
   North America Inc., as amended, restated, amended and restated, modified or otherwise
   supplemented from time to time.
2. BP-LBRM Side Agreement, dated as of March 3, 2020, between BP Products North
   America Inc. and Limetree Bay Refining Marketing, LLC, as amended, restated, amended
   and restated, modified or otherwise supplemented from time to time.
3. Feedstock Supply Agreement, dated as of November 15, 2018, between BP Products North
   America Inc., and Limetree Bay Refining Marketing, LLC, as amended by that certain
   Amendment No. 1 to Feedstock Supply Agreement, dated as of February 22, 2021, and as
   further amended, restated, amended and restated, modified or otherwise supplemented
   from time to time.
4. Guaranty Agreement, dated as of November 15, 2018, by BP Corporation North America
   Inc. in favor of Limetree Bay Refining, LLC and Limetree Bay Refining Marketing, LLC,
   as amended, restated, amended and restated, modified or otherwise supplemented from
   time to time.
5. Product Offtake Agreement, dated as of November 15, 2018, between BP Products North
   America Inc., and Limetree Bay Refining Marketing, LLC, as amended by that certain First
   Amendment to Product Offtake Agreement, dated as of April 15, 2019, as further amended
   by that certain Second Amendment to Product Offtake Agreement, dated as of February
   22, 2021, and as further amended, restated, amended and restated, modified or otherwise
   supplemented from time to time.
6. Reaffirmation Agreement, dated as of February 22, 2021, by and between Limetree Bay
   Refining, LLC, Limetree Bay Refining Marketing, LLC, BP Products North America Inc.,
   as amended, restated, amended and restated, modified or otherwise supplemented from
   time to time.
7. Any and all other instruments or agreements between BP and one or more of the Debtors,
   as amended, restated, amended and restated, modified or otherwise supplemented from
   time to time.




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